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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                               AT BLUEFIELD

CARLISA MERRIWEATHER,

       Plaintiff,

v.                                         CIVIL ACTION No. 1:21-00391

KILOLO KIJAKAZI, Acting
Commissioner of Social Security,

       Defendant.

                       MEMORANDUM OPINION AND ORDER

       Pending before the court is the motion of Kurt Entsminger to

withdraw as counsel for plaintiff.          (ECF No. 48).     According to

Mr. Entsminger he is no longer associated with the Estep

Entsminger Law Group who will continue to represent plaintiff.

Mr. Entsminger asks that Phillip Estep be substituted as counsel.

The docket sheet notes that Shaun C. Southworth of SOUTHWORTH PC

continues to represent plaintiff.

       Local Rule of Civil Procedure 83.4 which governs the

withdrawal and/or termination of representation provides as

follows:

       An attorney may withdraw from a case in which he or she has

appeared only as follows:

       (a)   By Notice of Withdrawal. A party’s attorney may
             withdraw from a case by filing and serving a notice of
             withdrawal, effective upon filing, if:
             (1) multiple attorneys have appeared on behalf of the
                  party; and
             (2) at least one of those attorneys will still be the
                  party’s counsel of record after the attorney
                  seeking to withdraw does so.
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     (b)   By Notice of Withdrawal and Substitution. A party’s
           attorney may withdraw from a case by filing and serving
           a notice of withdrawal and substitution, effective upon
           filing, if the notice includes:
           (1) the withdrawal and substitution will not delay the
                trial or other progress of the case; and
           (2) the notice is filed and served at least 90 days
                before trial.
     (c)   By Motion. An attorney who seeks to withdraw other
           than under LR 83.4(a) or (b) must move to withdraw and
           must show good cause. The attorney must notify his or
           her client of the motion.

     Based upon the foregoing, a motion to withdraw was

unnecessary and it is DENIED as moot.          The Clerk’s Office should

construe Mr. Entsminger’s filing as a Notice of Withdrawal and

Substitution pursuant to Local Rule of Civil Procedure 83.4(b).

     The Clerk is directed to send a copy of this Order to

counsel of record.

     IT IS SO ORDERED this 25th day of July, 2023.

                                  ENTER:


                                  David A. Faber
                                  Senior United States District Judge




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